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                                                  CORRECTED

    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1206V
                                          UNPUBLISHED


    MARCIA ROBY,                                                Chief Special Master Corcoran

                         Petitioner,                            Filed: September 3, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Guillain-
                                                                Barre Syndrome (GBS)
                         Respondent.


Joseph Alexander Vuckovich, Maglio Christopher & Toale, PA, Washington, DC, for
      Petitioner.

Matthew Murphy, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

       On September 15, 2020, Marcia Roby filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered Guillain-Barre Syndrome (“GBS”) as
a result of an influenza (“flu”) vaccine administered on October 24, 2018. Petition at 1-2.
The case was assigned to the Special Processing Unit of the Office of Special Masters.

       On May 4, 2021, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for her GBS. On September 2, 2021, Respondent filed a proffer on award
of compensation (“Proffer”) indicating Petitioner should be awarded $162,260.47,
representing $160,000.00 for her pain and $2,260.47 for her out-of-pocket medical and
unrelated expenses. Proffer at 1-2. In the Proffer, Respondent represented that Petitioner

1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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agrees with the proffered award. Id. at 2. Based on the record as a whole, I find that
Petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $162,260.47, representing compensation in the amount of
$160,000.00for her pain and suffering and $2,260.47 for her expenses in the form of
a check payable to Petitioner. This amount represents compensation for all damages
that would be available under Section 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS
___________________________________
                                    )
MARICA ROBY,                        )
                                    )
       Petitioner,                  )    No. 20-1206V ECF
                                    )
              v.                    )    Chief Special Master Corcoran
                                    )
SECRETARY OF HEALTH                 )
AND HUMAN SERVICES,                 )
                                    )
       Respondent.                  )
___________________________________ )

                      PROFFER ON AWARD OF COMPENSATION1

I.     Procedural History

       On September 15, 2020, Marcia Roby (“petitioner”) filed a petition for compensation

(“petition”) under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to

-34, as amended. She alleged that as a result of receiving the influenza vaccine on October 24,

2018, she suffered from Guillain-Barre Syndrome (GBS). See Petition. On May 3, 2021,

respondent filed his Vaccine Rule 4(c) report, concluding that petitioner suffered GBS as defined

by the Vaccine Injury Table, within the Table timeframe. On May 4, 2021, Chief Special Master

Corcoran issued a ruling on entitlement, finding that petitioner was entitled to compensation for

a GBS Table injury.

II.    Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

a lump sum of $162,260.47, for all damages, including $160,000.00 representative of pain and




       1
         This Proffer does not include attorneys’ fees and costs, which the parties intend to
address after the Damages Decision is issued.
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suffering, and $2,260.47 representative of out-of-pocket medical and related expenses. This

amount represents all elements of compensation to which petitioner is entitled under 42 U.S.C.

§ 300aa-15(a). Petitioner agrees.

III.   Form of the Award

       Respondent recommends that compensation provided to petitioner should be made

through a lump sum payment of $162,260.47, in the form of a check payable to petitioner.2

Petitioner agrees.

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                             Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Acting Assistant Attorney General

                                             C. SALVATORE D’ALESSIO
                                             Acting Director
                                             Torts Branch, Civil Division

                                             HEATHER L. PEARLMAN
                                             Deputy Director
                                             Torts Branch, Civil Division

                                             TRACI R. PATTON
                                             Assistant Director
                                             Torts Branch, Civil Division




       2
          Should petitioner die prior to entry of judgment, respondent would oppose any award
for future medical expenses, future lost earnings, and future pain and suffering, and the parties
reserve the right to move the Court for appropriate relief.

                                                 2
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                                   /s/ Matthew L. Murphy by Traci R. Patton
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Dated: September 2, 2021




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